 United States Bankruptcy Court for the Northern District of Alabama

                                                            WITHDRAWAL OF CLAIM

        Debtor Name and Case Number: William Barrier Roberts; Case No. 18-83442-CRJ-11
                                         Bullet & Barrel, LLC
                                         612 Eustis Ave
              Creditor Name and Address: Huntsville, AL 35801


       Court Claim Number (if known): 14

                                Date Claim Filed: 02/28/2019

            Total Amount of Claim Filed: $700,0000.00

 I, the undersigned, am the above-referenced creditor, or an authorized signatory for the above-referenced
 creditor. I hereby withdraw the above-referenced claim and authorize the Clerk of this Court, or their
 duly appointed Claims Agent, to reflect this withdrawal on the official claims register for the above-
 referenced Debtor.

            05/18/2020                                                              /s/ Christian A. Pereyda
 Dated: ________________________                                                 ___________________________________
                                                                                             Christian A. Pereyda
                                                                                 Print Name: ________________________
                                                                                                        Attorney
                                                                                 Title (if applicable): __________________

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                                                                       DEFINITIONS
 Debtor
 The person, corporation, or other entity that has filed a bankruptcy case is called the debtor.

 Creditor
 A creditor is any person, corporation, or other entity to which the debtor owed a debt.

 Proof of Claim
 A form filed with the clerk of the bankruptcy court where the bankruptcy case was filed, to tell the bankruptcy court how much the debtor owed a
 creditor (the amount of the creditor's claim).

             ITEMS TO BE COMPLETED ON THIS WITHDRAWAL OF CLAIM
 Court, Name of Debtor and Case Number:
 Fill in the name of the federal judicial district where the bankruptcy case was filed (for example, Central District of California), the name of the
 debtor in the bankruptcy case, and the bankruptcy case number. If you received a notice of the case from the court, all of this information is near
 the top of the notice.

 Information about Creditor:
 Complete the section giving the name and address of the creditor that was listed on the previously filed Proof of Claim form.

 Information identifying the Claim that is to be withdrawn:
 Complete the section giving the court claim number, date claim was filed and total amount of claim filed to help identify the claim that is to be
 withdrawn.

 Sign and print the name and title, if any, of the creditor or other person authorized to file this withdrawal of claim (attach copy of power
 of attorney, if any).

 This form must be filed with the clerk of the bankruptcy court where the bankruptcy case was filed
 or, if applicable, with their duly appointed Claims Agent as per any procedure approved by the
 court in the above-referenced bankruptcy proceeding.



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